              Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 1 of 11



 1

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE WESTERN DISTRICT OF WASHINGTON

10

11    SHIRLEY FOX, individually and on behalf of          Case No.
      all others similarly situated,
12                                                       CLASS ACTION COMPLAINT
                     Plaintiff,
13                                                       DEMAND FOR JURY TRIAL
      v.
14
      LOANCARE, LLC, a Virginia limited
15    liability company,

16                   Defendant.

17

18              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

19          Plaintiff Shirley Fox (“Fox” or “Plaintiff”) brings this Class Action Complaint and

20   Demand for Jury Trial against Defendant LoanCare LLC, (“LoanCare” or “Defendant

21   LoanCare”) to stop LoanCare from violating the Telephone Consumer Protection Act (“TCPA”)

22   by making autodialed and/or prerecorded collection calls to consumers without their consent, and

23   to otherwise obtain injunctive and monetary relief for all persons injured by LoanCare’s conduct.

24   Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself and her
                                                                                          Eric R. Draluck
25                                                                                             WSBA #19881
     CLASS ACTION COMPLAINT, Page 1 of 11                                                      PO Box 11647
                                                                                Bainbridge Island, WA 98110
26                                                                                             206-605-1424
                     Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 2 of 11



 1   own acts and experiences, and, as to all other matters, upon information and belief, including

 2   investigation conducted by her attorneys.

 3                                                INTRODUCTION

 4              1.       LoanCare is a mortgage servicer and debt collector.1

 5              2.       LoanCare’s debt collection efforts include skip tracing, which often results in

 6   calls to consumers who have no relationship with LoanCare or the creditors on whose behaves it

 7   calls.2

 8              3.       Notwithstanding, when calling consumers to collect debts, LoanCare places

 9   autodialed and/or prerecorded calls to consumers’ cellular phone numbers, including those

10   obtained through skip tracing.

11              4.       In Plaintiff’s case, LoanCare placed dozens of autodialed and/or prerecorded calls

12   to her cellular phone number despite the fact that she has never been a LoanCare customer or

13   otherwise consented to LoanCare calling her.

14              5.       In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

15   requiring Defendant to cease placing unsolicited calls to consumers’ cellular telephone numbers

16   using an autodialer and/or prerecorded message , as well as an award of statutory damages to the

17   members of the Class and costs.

18                                                     PARTIES

19              6.       Plaintiff Fox is a Renton, Washington resident.

20              7.       Defendant LoanCare is a Virginia limited liability company headquartered in

21   Virginia Beach, Virginia.

22

23
     1
24       https://www.linkedin.com/company/loancare/about/
     2
         https://www.loancareservicing.com/banks/component-servicing/
                                                                                                   Eric R. Draluck
25                                                                                                      WSBA #19881
         CLASS ACTION COMPLAINT, Page 2 of 11                                                           PO Box 11647
                                                                                         Bainbridge Island, WA 98110
26                                                                                                      206-605-1424
                 Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 3 of 11



 1                                    JURISDICTION AND VENUE

 2          8.       This Court has federal question subject matter jurisdiction over this action under

 3   28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

 4   §227 (“TCPA”).

 5          9.       This Court has personal jurisdiction over Defendant and venue is proper in this

 6   District under 28 U.S.C. § 1391(b) because Defendant does significant business in this District

 7   and the state of Washington, and because the wrongful conduct giving rise to this case occurred

 8   in this District. Venue is additionally proper because Plaintiff resides in this District and the calls

 9   were directed towards Plaintiff in this District.

10                                      COMMON ALLEGATIONS

11                 LoanCare Places Autodialed and/or Prerecorded Collection Calls to
                        Consumers’ Cellular Phone Numbers Without Consent
12

13          10.      In order for Defendant LoanCare to place autodialed and/or prerecorded calls to

14   consumers, it must have prior express consent before it may place such calls to a consumer.

15          11.      Yet in violation of this rule, Defendant fails to obtain consent prior to making

16   autodialed and/or prerecorded collection calls to cellular telephone numbers such as Plaintiff’s

17   cell phone number, which, on information and belief, it obtained through skip tracing.

18          12.      Defendant LoanCare states clearly that it conducts skip-tracing on behalf of banks

19   on its website loancareservicing.com,

20

21

22

23

24
                                                                                              Eric R. Draluck
25                                                                                                 WSBA #19881
      CLASS ACTION COMPLAINT, Page 3 of 11                                                         PO Box 11647
                                                                                    Bainbridge Island, WA 98110
26                                                                                                 206-605-1424
                  Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 4 of 11



 1

 2

 3

 4

 5

 6
                                                                                                            3

 7

 8              13.     When LoanCare posts job postings for its collections agents, it specifically

 9   references skip-tracing as a job requirement:

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24   3
         https://www.loancareservicing.com/banks/component-servicing/
                                                                                              Eric R. Draluck
25                                                                                                 WSBA #19881
         CLASS ACTION COMPLAINT, Page 4 of 11                                                      PO Box 11647
                                                                                    Bainbridge Island, WA 98110
26                                                                                                 206-605-1424
                 Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 5 of 11



 1

 2

 3

 4

 5

 6

 7
                                                                                            4

 8

 9             14.    LoanCare is equally open about its use of an autodialer when placing collection

10   calls to consumers. For example, job postings for LoanCare collections agents state as a

11   minimum qualification, “Ability to use a dialer system to make/receive phone calls[.]”5

12             15.    Not surprisingly, there is a multitude of online complaints about Defendant’s

13   autodialed and/or prerecorded collection calls to consumers who never gave express consent to

14   be called, and/or who don’t have a business relationship with Defendant LoanCare:

15            “You keep calling my daughters phone and leaving a message to call 800-909-9525. My
               daughter is a minor. Please stop calling this number: xxx-xxx-2688.”6
16
              “Something about a loan.. I don’t have a loan..”7
17
              “keep getting spam robocalls from loa[n]care.”8
18
              “I do NOT have a loan with this company! They call me at least 3 times a day! They
19             want my loan #...I don’t have a loan #. Then they ask for my social which they’re not
               getting! This is harassment!!!!!”9
20
              “Automated system called me from this number today asking me to call back. I looked up
               here to see who it was, and then confirmed with my mortgage holder that my account is
21

22   4
       https://www.indeed.com/viewjob?jk=d4daa1c5ce0921be&tk=1d051611h50oh803&from=serp&vjs=3
     5
       Id.
     6
23     https://whocallsme.com/Phone-Number.aspx/8009099525
     7
       Id.
     8
24     Id.
     9
       Id.
                                                                                         Eric R. Draluck
25                                                                                                WSBA #19881
         CLASS ACTION COMPLAINT, Page 5 of 11                                                     PO Box 11647
                                                                                   Bainbridge Island, WA 98110
26                                                                                                206-605-1424
                Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 6 of 11



 1            good and this was not them. For me this was either a wrong number or a scam.”10

 2           “Loan Care called out business office. Didn’t ask for any particular person, just stated to
              call them back at this number and stated their work hours.”11
 3
             “They are calling for a person that does not belong to the number they are calling. I
 4            finally blocked the number because I was unable to connect with a person when I
              returned the call. Finally spoke to a live person and asked them to stop calling as it is a
 5            business line and we do not employ that person. The calls stopped for 1 month. The
              computer calls my line 2 to 3 times a day every day.”12
 6

 7                                     PLAINTIFF’S ALLEGATIONS

 8                          LoanCare Repeatedly Called Plaintiff’s Cell Phone Number
                    Using an Autodialer and/or Prerecorded Message Without Plaintiff’s Consent
 9

10            16.      In early 2018, Plaintiff began receiving repeated autodialed and/or prerecorded

11   calls to her cellular phone number from LoanCare primarily using phone number 800-909-9525.

12            17.      LoanCare has left many prerecorded voicemails for Plaintiff, identifying itself as

13   being LoanCare, and asking Plaintiff to call 800-909-9525.

14            18.      Plaintiff has answered calls from LoanCare, but she was unable to speak with a

15   live agent.

16            19.      For example, in the beginning of December, 2018, Plaintiff called 800-909-9525.

17   The automated system asked for Plaintiff’s loan number, which she does not have, and her social

18   security number. There was no way for her to speak with a live agent using LoanCare’s

19   automated system since she is not affiliated with LoanCare.

20            20.      Plaintiff believes she has received dozens of autodialed and/or prerecorded calls

21   from Defendant.

22            21.      Plaintiff does not have a relationship with LoanCare or any of its affiliated

23
     10
        Id.
     11
24      https://800notes.com/Phone.aspx/1-800-909-9525/2
     12
        https://www.everycaller.com/phone-number/1-800-909-9525/
                                                                                              Eric R. Draluck
25                                                                                                 WSBA #19881
      CLASS ACTION COMPLAINT, Page 6 of 11                                                         PO Box 11647
                                                                                    Bainbridge Island, WA 98110
26                                                                                                 206-605-1424
                Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 7 of 11



 1   companies, nor has she ever requested that LoanCare call her or consent to any contact from

 2   Defendant.

 3          22.     Simply put, LoanCare did not obtain Plaintiff’s prior express consent to place

 4   collection telephone calls to her on her cellular telephone using an autodialer and/or prerecorded

 5   message.

 6          23.     The unauthorized telephone calls made by LoanCare, as alleged herein, have

 7   harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed

 8   Fox’s use and enjoyment of her cellular phone, in addition to the wear and tear on the phones’

 9   hardware (including the phones’ battery) and the consumption of memory on the phone.

10          24.     Seeking redress for these injuries, Fox, on behalf of herself and Class of similarly

11   situated individuals, brings suit under the Telephone Consumer Protection Act, 47 U.S.C. § 227,

12   et seq., which prohibits prerecorded telephone calls to cellular telephones.

13                                       CLASS ALLEGATIONS

14                       Class Treatment Is Appropriate for Plaintiff’s TCPA Claims

15          25.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

16   and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of

17   the following Class:

18          Class: All persons in the United States who from four years prior to the filing of
            this action through class certification (1) Defendant (or an agent acting on behalf
19          of Defendant) called, (2) on the person’s cellular telephone, (3) using the same
            equipment used to call Plaintiff and/or a prerecorded voice message, and (4) for
20          whom Defendant claims (a) it obtained prior express written consent in the same
            manner as Defendant claims it obtained prior express consent to call Plaintiff, or
21          (b) Defendant did not obtain prior express consent.

22          26.     The following individuals are excluded from the Class: (1) any Judge or

23   Magistrate presiding over this action and members of their families; (2) Defendant, its

24   subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents
                                                                                              Eric R. Draluck
25                                                                                                 WSBA #19881
     CLASS ACTION COMPLAINT, Page 7 of 11                                                          PO Box 11647
                                                                                    Bainbridge Island, WA 98110
26                                                                                                 206-605-1424
               Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 8 of 11



 1   have a controlling interest and their current or former employees, officers and directors; (3)

 2   Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

 3   from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

 4   and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

 5   released. Plaintiff anticipates the need to amend the Class definitions following appropriate

 6   discovery.

 7          27.     Numerosity: On information and belief, there are hundreds, if not thousands of

 8   members of the Class such that joinder of all members is impracticable.

 9          28.     Commonality and Predominance: There are many questions of law and fact

10   common to the claims of Plaintiff and the Class, and those questions predominate over any

11   questions that may affect individual members of the Class. Common questions for the Class

12   include, but are not necessarily limited to the following:

13                  (a) whether Defendant placed calls using an autodialer and/or prerecorded
                        message to Plaintiff and the members of the Class;
14
                    (b) whether Defendant placed calls using an autodialer and/or prerecorded
15                      message to Plaintiff and members of the Class without first obtaining prior
                        express consent to make the calls;
16
                    (c) whether Defendant’s conduct constitutes a violation of the TCPA; and
17
                    (d) whether members of the Class are entitled to treble damages based on the
18                      willfulness of Defendant’s conduct.

19          29.     Adequate Representation: Plaintiff will fairly and adequately represent and

20   protect the interests of the Class, and has retained counsel competent and experienced in class

21   actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

22   defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting

23   this action on behalf of the members of the Class, and have the financial resources to do so.

24   Neither Plaintiff nor her counsel has any interest adverse to the Class.
                                                                                            Eric R. Draluck
25                                                                                               WSBA #19881
     CLASS ACTION COMPLAINT, Page 8 of 11                                                        PO Box 11647
                                                                                  Bainbridge Island, WA 98110
26                                                                                               206-605-1424
               Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 9 of 11



 1          30.     Appropriateness: This class action is also appropriate for certification because

 2   Defendant has acted or refused to act on grounds generally applicable to the Class and as a

 3   whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

 4   of conduct toward the members of the Class and making final class-wide injunctive relief

 5   appropriate. Defendant’s business practices apply to and affect the members of the Class

 6   uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

 7   respect to the Class as wholes, not on facts or law applicable only to Plaintiff. Additionally, the

 8   damages suffered by individual members of the Class will likely be small relative to the burden

 9   and expense of individual prosecution of the complex litigation necessitated by Defendant’s

10   actions. Thus, it would be virtually impossible for the members of the Class to obtain effective

11   relief from Defendant’s misconduct on an individual basis. A class action provides the benefits

12   of single adjudication, economies of scale, and comprehensive supervision by a single court.

13                                     FIRST CAUSE OF ACTION

14                                 Telephone Consumer Protection Act
                                      (Violations of 47 U.S.C. § 227)
15                                 (On Behalf of Plaintiff and the Class)

16          31.     Plaintiff repeats and realleges paragraphs 1 through 30 of this Complaint and

17   incorporates them by reference herein.

18          32.     Defendant and/or its agents made unwanted collection telephone calls to cellular

19   telephone numbers belonging to Plaintiff and the other members of the Class using an autodialer

20   and/or prerecorded message.

21          33.     These collection telephone calls were made en masse without the consent of the

22   Plaintiff and the other members of the Class to receive such collection telephone calls.

23          34.     Defendant did not have prior express consent from the Plaintiff to call her.

24          35.     Defendant’s conduct was willful and knowing.
                                                                                            Eric R. Draluck
25                                                                                               WSBA #19881
      CLASS ACTION COMPLAINT, Page 9 of 11                                                       PO Box 11647
                                                                                  Bainbridge Island, WA 98110
26                                                                                               206-605-1424
              Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 10 of 11



 1          36.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A). As a result of

 2   Defendant’s conduct, Plaintiff and the other members of the Class are each entitled to between

 3   $500 and $1,500 in damages for each and every call.

 4                                         PRAYER FOR RELIEF

 5          WHEREFORE, Plaintiff Fox, individually and on behalf of the Class, prays for the

 6   following relief:

 7      a) An order certifying the Class as defined above; appointing Plaintiff as the representative

 8          of the Class; and appointing her attorneys as Class Counsel;

 9      b) An award of actual and/or statutory damages and costs;

10      c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

11      d) An injunction requiring Defendant to cease all autodialed and/or prerecorded message

12          calling activity that is being done without consent, and to otherwise protect the interests

13          of the Class; and

14      e) Such further and other relief as the Court deems just and proper.

15                                             JURY DEMAND

16          Plaintiff requests a jury trial.

17                                                 Respectfully Submitted,

18                                                 SHIRLEY FOX, individually and on behalf of
                                                   those similarly situated individuals
19

20   Dated: March 12, 2019                         s/ Eric R. Draluck
                                                   Eric R. Draluck
21                                                 WSBA No. 19881
                                                   PO Box 11647
22                                                 Bainbridge Island, WA 98110
                                                   Telephone: (206) 605-1424
23                                                 edraluck@gmail.com

24
                                                                                           Eric R. Draluck
25                                                                                              WSBA #19881
      CLASS ACTION COMPLAINT, Page 10 of 11                                                     PO Box 11647
                                                                                 Bainbridge Island, WA 98110
26                                                                                              206-605-1424
          Case 2:19-cv-00366-MJP Document 1 Filed 03/12/19 Page 11 of 11



 1                                    Stefan Coleman*
                                      law@stefancoleman.com
 2                                    LAW OFFICES OF STEFAN COLEMAN, P.A.
                                      201 S. Biscayne Blvd, 28th Floor
 3                                    Miami, FL 33131
                                      Telephone: (877) 333-9427
 4                                    Facsimile: (888) 498-8946

 5                                    Avi R. Kaufman*
                                      kaufman@kaufmanpa.com
 6                                    KAUFMAN P.A.
                                      400 NW 26th Street
 7                                    Miami, FL 33127
                                      Telephone: (305) 469-5881
 8
                                      Attorneys for Plaintiff and the putative Classes
 9
                                      *Pro Hac Vice motion forthcoming
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
                                                                              Eric R. Draluck
25                                                                                 WSBA #19881
     CLASS ACTION COMPLAINT, Page 11 of 11                                         PO Box 11647
                                                                    Bainbridge Island, WA 98110
26                                                                                 206-605-1424
